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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 FEDERAL TRADE COMMISSION


                  Plaintiff,

             v.                                         Case No. 1:20-cv-03590-CRC

 FACEBOOK, INC.


                  Defendant.


   UNOPPOSED MOTION AND MEMORANDUM TO FILE REVISED PARTIALLY
   REDACTED COMPLAINT AND UPDATED PROPOSAL REGARDING SEALING

       Pursuant to the Court’s December 9, 2020 Order (ECF No. 2) to provide an updated

proposal regarding sealing, Plaintiff Federal Trade Commission (“FTC”) respectfully moves to

file a revised partially redacted Complaint and requests that the unredacted Complaint remain

temporarily under seal.

       The FTC’s revised partially redacted Complaint contains fewer redactions. The FTC has

confirmed that confidential treatment is not necessary for third-party information that the FTC had

previously redacted from its Complaint. Accordingly, the FTC’s revised partially redacted

Complaint now removes redactions for that third-party information.

       Additionally, the FTC requests that the Court maintain the unredacted Complaint under

seal until the parties can propose, and the Court can enter, an appropriate protective order. The

unredacted Complaint contains information that the FTC obtained from Defendant Facebook, Inc.

(“Facebook”) during an FTC investigation, which Facebook has specifically identified as

confidential and sensitive. As outlined in Plaintiff’s December 9, 2020 Ex Parte Motion and


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Memorandum to File Complaint Temporarily Under Seal (ECF No. 1), multiple factors support

the temporary sealing of portions of the Complaint. See United States v. Hubbard, 650 F.2d 293

(D.C. Cir. 1980); Primas v. District of Columbia, 719 F.3d 693, 698-700 (D.C. Cir. 2013).

       The Complaint’s continued temporary sealing will give the FTC and Defendant time to

negotiate a protective order. The FTC has confirmed with Facebook’s counsel that Facebook does

not oppose either the FTC’s filing of a revised partially redacted Complaint or the FTC’s request

to temporarily maintain the unredacted Complaint under seal. Plaintiff and counsel for Defendant

intend to begin protective order discussions promptly.

       For the foregoing reasons, the FTC respectfully proposes and requests that the Court: (1)

immediately place on the public docket the FTC’s revised partially redacted Complaint in the

above-captioned matter, attached as Exhibit 1; 1 and (2) maintain under seal an unredacted version

the Complaint pending entry of a protective order governing the treatment of confidential

information, and (if necessary) further motion practice in accordance with the requirements of that

protective order.

       A proposed order is attached.




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 The Complaint attached as Exhibit 1 corrects the signature page of the originally filed
Complaint to include an inadvertently omitted FTC attorney, pursuant to the FTC’s Notice of
Errata, ECF No. 8.
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Dated: December 21, 2020                  Respectfully submitted,

                                          /s/ Daniel J. Matheson
                                          _______________________________
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                                          Federal Trade Commission




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                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 21st day of December 2020, I served the foregoing on
the following counsel via electronic mail:

Mark Hansen, Esq.
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202-326-7904

Counsel for Facebook, Inc.




                                          /s/ Daniel J. Matheson
                                          _______________________________
                                          Daniel J. Matheson
                                          Attorney for Plaintiff Federal Trade Commission




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